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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
      v.                                       ) CASE NO. 1:19-cr-459-RAH
                                               )
MUTA BOLDEN                                    )

                   MEMORANDUM OPINION and ORDER

      Pending before the Court is the Unopposed Motion to Continue Trial (Doc.

144) filed by Defendant Muta Bolden on September 17, 2020. Jury selection and

trial are set in this case on the term of court commencing October 19, 2020. For the

reasons set forth below, the Court will grant a continuance of the trial pursuant to 18

U.S.C. § 3161(h)(7).

      While the grant of a continuance is left to the sound discretion of the trial

judge, United States v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the Court is

limited by the requirements of the Speedy Trial Act, 18 U.S.C. § 3161 (Act). The

Act provides in part:

      In any case in which a plea of not guilty is entered, the trial of a
      defendant charged in an information or indictment with the commission
      of an offense shall commence within seventy days from the filing date
      (and making public) of the information or indictment, or from the date
      the defendant has appeared before a judicial officer of the court in
      which such charge is pending, whichever date last occurs.



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18 U.S.C. § 3161(c)(1). However, the Act excludes from the seventy-day period

any continuance based on “findings that the ends of justice served by taking such

action outweigh the best interest of the public and the defendant in a speedy trial.”

§3161(h)(7)(A). In granting such a continuance, the Court may consider, among

other factors, whether the failure to grant the continuance “would deny counsel for

the defendant or the attorney for the Government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.”

§ 3161(h)(7)(B)(iv).

       Counsel for Bolden represents that the parties are engaged in ongoing plea

negotiations. In addition, he maintains that, due to the COVID-19 pandemic, counsel

has had difficulties meeting with the Defendant in person to discuss the possible

benefits of entering a plea. The United States does not oppose a continuance.

       In light of the current COVID-19 pandemic, and for good cause, the Court

finds that the ends of justice served by granting a continuance of this trial outweigh

the best interest of the public and the Defendant in a speedy trial. Thus, for good

cause, it is

       ORDERED as follows:

   (1) Jury selection and trial are CONTINUED from October 19, 2020 to the

       criminal term of court commencing on December 7, 2020 at 10:00 a.m. in

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   Montgomery, Alabama. All deadlines tied to the trial date are adjusted

   accordingly.

(2) The Court DIRECTS the Clerk of Court to draw the names of the petit jurors

   randomly from the division in which the trial is held, which is the Northern

   Division.

(3) The United States Magistrate Judge shall conduct a pretrial conference prior

   to the December 2020 trial term.

   DONE, this 22nd day of September, 2020.


                                       /s/ R. Austin Huffaker, Jr.
                            R. AUSTIN HUFFAKER, JR.
                            UNITED STATES DISTRICT JUDGE




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